Case 1:25-cv-01309-BMC           Document 10-2        Filed 03/25/25      Page 1 of 1 PageID #: 77




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________
 In the Matter of S.S. and A.S.,       )
                                       )
 DORAN ANTHONY SATCHEL                 )
                                       )                       CLERK’S CERTIFICATE OF
                         Petitioner,   )                       DEFAULT
                                       )
 vs.                                   )                       No. 1:25-cv-01309
                                       )
 RENE ALEXIS KIZZI SATCHEL             )
                                       )
                         Respondent.   )
 _____________________________________)


          I, Brenna B. Mahoney, Clerk of the United States District Court for the Eastern District of

 New York, do hereby certify that this action was commenced on March 6, 2025, with the filing of

 a summons and complaint, a copy of the summons and complaint was personally served on

 respondent on March 13, 2025, and proof of service was therefore filed on March 17, 2025. ECF

 No. 8. I further certify that the docket entries indicate that the respondent has not filed an answer

 or otherwise moved with respect to the complaint herein. The default of the respondent is hereby

 noted.


          Dated: March 24, 2025
                 New York, New York
                                                                BRENNA B. MAHONEY
                                                                    Clerk of Court




                                                               By: ___________________
                                                                      Deputy Clerk
